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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                    :
 NETWORK DATA ROOMS, LLC,                                           :
                                              Plaintiff,            :
                                                                    :    22 Civ. 2299 (LGS)
                            -against-                               :
                                                                    :          ORDER__
 SAULREALISM LLC, et al.,                                           :
                                              Defendants.           :
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                                                                    X
LORNA G. SCHOFIELD, District Judge:

         WHEREAS, on August 16, 2022, Plaintiff was directed to produce David Delorge at the

hearing scheduled for September 20, 2022, at 2:00 p.m. unless Delorge states in an affidavit filed

with the Court that he intends to assert his Fifth Amendment right against self-incrimination;

         WHEREAS, Delorge mailed an unsigned affidavit to the Court asserting the same. It is

hereby

         ORDERED that, if Delorge wishes to assert his Fifth Amendment right against self-

incrimination, he shall sign and date the affidavit and refile it with the Court. It is further

         ORDERED that, as soon as possible, Plaintiff’s counsel shall send this Order to Delorge

and file an affidavit of service.

Dated: September 13, 2022
       New York, New York
